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IN THE UNITED sTATEs DIsTRIcT coURT ""*

FOR THE wEsTERN DISTRICT oF TENNESSEE §§H§?yg 95
wEsTERN DIvIsIoN

 

DENARIO BUSH,
Plaintiff,

v. No. 04-2273 Ma/V
CITY OF MEMPHIS, THE CIT`Y OF
MEMPHIS POLICE DIVISION,
OFFICER JEFFREY TURNER, OFFICER
B. BEASLEY, OFFICER RICHARD
MELTON, and OFFICER PAUL BISHOP,
Individually and in their
Representative Capacities as
City of Memphis Police Division
Officers,

Defendants.

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ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT PAUL
BISHOP'S MOTION TO DISMISS

 

Before the court is Defendant Officer Paul Bishop's motion to
dismiss, filed.November lO, 2004. Plaintiff Denario Bush responded
on March 2, 2005. For the following reasons, the court GRANTS in
part and DENIES in part the motion to dismiss.

I. Background

The following facts are taken from the complaint. On April
20, 2003, Plaintiff Bush_ was chased by' Defendants Turner and
Beasley, police officers for the city of Memphis, on suspicion of
auto theft. Turner and Beasley caught Bush and brutally beat him
about his body, neck, face, and head, rendering Bush helpless. At
some time, they were joined by Defendants Melton and Bishop, and

the four officers beat Bush a second time. (Compl. 1 5 } Civilian

with P\u\e 58 and.'or ?9(3) FRCP on

 

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bystanders could hear the four officers trying to maim Bush and
break his limbs. (ld. j 6.)

Bush was subsequently arrested, but the charges were later
dismissed. (Id. j 7.) The defendants attempted to cover up the
cause of Bush's injuries, officially' reporting that they' were
caused when he exited his vehicle. (Id. j 8.) The defendants
further reported that Bush must have been using illegal drugs,
although no drugs were found in his body. (Id. j 9.)

II. Jurisdiction

Bush brings claims under 42 U.S.C. § 1983 for violation of the
Fourth and Eighth Amendments to the United States Constitution.
Thus, the court has subject matter jurisdiction under 28 U.S.C. §
1331. The court has jurisdiction over pendant state claims under
28 U.S.C. § 1367(a), and venue is proper in this district under 28
U.S.C. § l391(a).

III. Legal Standard

Under Federal Rule of Civil Procedure 12(b)(6), a defendant
may move to dismiss a plaintiff's complaint “for failure to state
a claim upon which relief can be granted.” When considering a
12(b)(6) motion to dismiss, a court must treat all of the well-
pleaded allegations of the complaint as true, Savlor v. Parker Seal
QQ;, 975 F.2d 252, 254 (6th Cir. 1992), and must construe all of
the allegations in the light most favorable to the plaintiff.
Scheuer v. Rhodes, 416 U.S. 232, 236 (1974) (abrogated on other
grounds). “A court may dismiss a complaint only if it is clear
that no relief could be granted under any set of facts that could

be proved consistent with the allegations.” Hishon 'v. Kinq &

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Spalding, 467 U.S. 69, 73 (l984).
IV. Analysis

The motion to dismiss asserts that Bush has failed to state a
claim upon which relief can be granted, that he has not stated a
cause of action under the Eighth Amendment, and that he has failed
to state a claim under the Tennessee Human Rights Act. Although
Bishop does not make the argument in his support memorandum, other
defendants have raised the defense of qualified immunity as to the
officers' actions. Thus, the court will also consider the issue of
qualified immunity in deciding the motion to dismiss.

Bush’s complaint names Bishop as an individual and in his
official capacity as a police officer of the City of Memphis. As
a preliminary nwtter, the court dismisses Bush's suit against
Bishop in his official capacity. Official capacity suits
“generally represent only another way of pleading an action against
an entity of which an officer is an agent.” Monell v. New York City
Dept. of Social Services, 436 U.S. 658, 690 n. 55 (1978). “As long
as the government entity receives notice and an opportunity to
respond, an official-capacity suit is, in all respects other than
name, to be treated as a suit against the entity." Kentucky v.
Graham, 473 U.S. 159, 165-166 (1985). Bishop is employed by the
City of Memphis. Because Bush’s suit names the City as a
Defendant, naming Bishop as a defendant in his official capacity is
redundant. Bush's suit against Bishop in his official capacity is
dismissed.

A. Eighth Amendment and Tennessee Human Rights Act

Bush concedes that his claim is properly based on the Fourth

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Amendment's prohibition of excessive force and admits that he has
no independent cause of action under the Eighth Amendment or the
Tennessee Human Rights Act. (Response at 2-3.) Accordingly, the
court will dismiss those claims against Bishop.

B. Fourth Amendment

Bush claims that the defendants used. excessive force to
apprehend him, in violation of the Fourth Amendment. “Qualified
immunity operates ‘to ensure that before they are subjected to
suit, officers are on notice their conduct is unlawful}'” Hope v.
Pelzer, 536 U.S. 730, 739 (2002) (quoting Saucier v. Katz, 533 U.S.
194, 206 (2001)). “The threshold inquiry a court must undertake in
a qualified immunity analysis is whether plaintiff’s allegationsr
if true, establish a constitutional violation.” Ld; at 736. If the
court finds a constitutional violation, it must then. consider
whether the defendant's actions violated “‘clearly' established
statutory or constitutional rights of which a reasonable person
would have known.’” ld; (quoting Harlow v. Fitzgerald, 457 U.S.
800, 818 (1982)). Competent public officials are expected to know
the law governing their conduct, including binding precedent from
the courts in the jurisdiction in which they operate. _ee Williams
v. Kentucky, 24 F.Bd 1526, 1532-33 (G’Ch Cir. 1994).

Assaulting a suspect after he has been rendered helpless, as
the complaint alleges, violates clearly established constitutional
rights. See Graham v. Connor, 490 U.S. 386, 392-93, 396-97 {1989).
Reading the facts in the light most favorable to Bush, there is no
doubt that Bishop’s conduct was objectively unreasonable and

violated Bush’s clearly established rights. For that reason, Bush

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has stated a claim against Bishop for a Fourth Amendment violation.
V. Conclusion

For the foregoing reasons, Bishop's motion. to dismiss is
GRANTED on Bush’s claims under the Eighth Amendment, the Tennessee
Human Rights Act, and all claims against Bishop in his official
capacity as a police officer for the City of Memphis. The motion
to dismiss Bush's Fourth Amendment claim against Bishop in his

individual capacity is DENIED.

so oRDERED this W*Lday of May 2005.

<MWM,_`

SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CV-02273 Was distributed by fax, mail, or direct printing on
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

